Case 22-31641-mvl7           Doc 342    Filed 09/11/23 Entered 09/11/23 14:01:46              Desc Main
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                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION

                                                       §
 IN RE:
                                                       §
                                                       §     CASE NO: 22-31641-mvl-7
 GOODMAN NETWORKS, INC. and                            §
 GOODMAN NETWORKS, INC. dba                            §     Chapter 7
 Goodman Solutions                                     §
                                                       §
  DEBTOR.


                                  TRUSTEE’S INTERIM REPORT

          The Trustee wishes to advise the Court, creditors, and parties in interest that litigation is

 ongoing.



                                                 Respectfully Submitted,

                                                   /s/ Scott M. Seidel
                                                 Scott M. Seidel

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                                                 CHAPTER 7 TRUSTEE




 TRUSTEE’S STATUS REPORT                                                                        SOLO PAGE
